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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

             UNITED STATES OF AMERICA                 :
                                                      : CRIMINAL ACTION
                         v.                           :
                                                      : NO. 1:10-cr-0086-26-RWS-ECS
             REMBERTO ARGUETA                         :
             a/k/a Pitufo                             :


                                      REPORT AND RECOMMENDATION
                                  OF UNITED STATES MAGISTRATE JUDGE


                  This matter is before the Court on Defendant’s motion to

             suppress    statements.      [Doc.    378].     Defendant   seeks    to   suppress

             statements made by him on June 26, 2008, and on March 23, 2010. The

             first challenged statement was made at the Gwinnett County Detention

             Center. The second statement was made at the Immigration and Customs

             Enforcement (“ICE”) removal office located at 180 Spring Street in

             Atlanta. Agent Jason Tyler with ICE was present for both statements.

             The motion to suppress came on for hearing before the undersigned on

             September 27, 2011, and has now been transcribed. [Doc. 594].

             Thereafter, Defendant filed his brief and the government responded.

             Defendant did not file a reply brief within the time allowed and the

             record     is    therefore   now     complete    and   ready   for   report    and

             recommendation to the District Judge. For the reasons stated below,

             the undersigned RECOMMENDS that the motion to suppress be DENIED.


                                                      I.




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                                          Findings of Fact


                    The facts developed at the hearing show the following: ICE

             Agent Jason Tyler, along with another ICE agent, Albert Prieto, and

             an FBI agent, interviewed Defendant on June 26, 2008, at the

             Gwinnett County Detention Center. [7, 10].1 Defendant had previously

             been arrested on October 24, 2007, on the state aggravated assault

             charges and was represented by counsel when the agents interviewed

             him in June of 2008. [66]. He had pled guilty to the state charges

             by the time he was interviewed in 2008 at the jail. [76].


                    The   officers   interviewed   Defendant   in   the   booking   area.

             Defendant was advised of his rights under Miranda v. Arizona, 384

             U.S. 436 (1966), approximately 15 minutes into the interview. [17].

             His rights were read to him by Agent Prieto in Spanish. [12, 53].

             Defendant signed an acknowledgment and waiver of his Miranda rights,

             witnessed by an agents Tyler and Prieto. [47-48]. See Gov. Ex. 1.

             Defendant also orally waived his rights. [48, 54]. Agent Prieto is

             a native Spanish speaker. [12, 52]. Agent Tyler also speaks Spanish.

             [7].




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                       References to the transcript of the September 27, 2011,
             evidentiary hearing will be cited as “[Page].”

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                     No promises or threats were made to force Defendant to give a

             statement. [12-13, 56-57]. Defendant appeared to understand the

             questioning. [13]. He did not appear to be drunk or high. [14]. He

             did not invoke his rights. The agents knew that Defendant was

             represented on the state aggravated assault charges but did not

             contact his attorney. [40]. Defendant was not questioned about the

             aggravated assault charge, but he was questioned regarding an

             investigation     of     MS-13   gang    activity      that   the    agents    were

             conducting. [10, 49].


                     On March 16, 2010, after he was released from custody on his

             state charges, Defendant was taken to an ICE detention facility.

             [73].    Then,   on    March   23,   Defendant   was    taken   to   another   ICE

             detention facility at 180 Spring Street, where he was interviewed

             again by ICE Agents Tyler and Matt Ballard. [14]. By this time,

             Defendant had been indicted in the instant case and Agents Tyler and

             Ballard went to pick him up from ICE detention and take him into

             custody on the federal indictment. [19, 21-22]. Defendant testified

             that he had been awakened around midnight on March 22 and brought to

             the Spring Street facility in Atlanta by bus. He arrived in Atlanta

             around three o’clock in the morning. [79]. He testified that he

             spent the night shackled by his ankles to another inmate in a room

             where he could not sleep. [74- 76, 80]. He thought he was going


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             “home,” meaning that he thought he was going to be deported to El

             Salvador. [74, 81].


                   The interview with Tyler and Ballard occurred at about nine-

             thirty in the morning. [79]. Defendant was interviewed in Spanish by

             Agent Tyler. [15]. He was read his Miranda rights in Spanish by

             Agent Tyler and signed a written acknowledgment and waiver of his

             rights. [15, 61].   See Gov. Ex. 2. Agent Ballard, who also witnessed

             the waiver with Agent Tyler, is likewise fluent in Spanish. [35-36,

             47-48, 60]. Defendant also orally waived his rights. [47-48].

             Defendant was not threatened nor were any promises made to induce

             his   statement.    [16,   62].   The   Miranda   warnings    were     given

             approximately ten minutes into the interview. [17]. Defendant did

             not invoke his rights. [17]. The agents did not initially tell

             Defendant that he had been indicted or that he was going into

             custody on a federal charge. [31-32].


                   Defendant testified he had a first grade education and that he

             did not read Spanish well. [68]. He had encountered Agent Tyler

             before these interviews and knew him. [69-70]. Defendant confirmed

             his signature on Government Ex. 1, [71], but denied that he signed

             Government Ex. 2. [77]. When he gave the interview in 2010, he did

             not know he had already been charged and was about to be arrested on

             the federal charges. [78]. He testified that he did not understand

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             his rights; in particular, he did not understand that he did not

             have to talk to the agents or that he had the right to talk to a

             lawyer. He testified that his 2010 statement “was a lie.” [84-85].


                                                II.
                                            Discussion


                  Defendant argues that his 2010 statement was coerced and

             involuntary and that his Miranda waivers were not knowing, that is,

             were not made with full awareness of his rights and the consequences

             of waiver. Def’s Brief, [Doc. 621 at 5, 8]. Defendant submits that

             his 2010 statement was the result of “coercive police activity” in

             that he was deprived of sleep and not told of the nature of the

             charges against him before he was questioned. Defendant also argues

             as to both the 2010 and 2008 statements that, despite Defendant’s

             written and oral waivers of his rights, the waivers were not knowing

             and intelligent, as demonstrated by the fact that Defendant only had

             a first grade education; that he did not speak English; that he was

             a native of a foreign country; and that he asked the agents to

             repeat certain things during the questioning.


                  The   government   responds    that    there   was   no   evidence   of

             overreaching by the police through the use of any promises or

             threats or physical punishment. The government points to the oral



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             and written waivers of Miranda rights by Defendant given under

             circumstances that the government contends show no overreaching or

             coercion. The government also points to Defendant’s testimony that

             the 2010 statement was fabricated (“a lie”) – in the face of the two

             agents’ testimony to the contrary - as undermining his credibility.

             The government submits that the evidence does not show that the

             interview with Defendant in 2010 was orchestrated or “set up” by the

             agents in order to coerce a waiver and an involuntary statement.

             Rather,   the   government    contends    that    the   totality      of   the

             circumstances shows that the waivers and statements were voluntary,

             knowing and intelligent.


                  Under   Miranda   v.    Arizona,    384   U.S.   436   (1966),    before

             questioning a suspect in custody, law enforcement must inform the

             suspect that he has the right to remain silent, that his statements

             may be used against him at trial, that he has a right to an attorney

             during questioning, and that, if he cannot afford an attorney, one

             will be appointed for him. Miranda, 384 U.S. at 467-73. Miranda

             rights may be waived, however, id. at 475; and, even if Miranda

             warnings are given, evidence that is coerced must be excluded.

             Colorado v. Connelly, 479 U.S. 157, 167 (1986) (dictum). In general,

             the government must prove that the defendant voluntarily, knowingly,




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             and intelligently waived his or her Miranda rights.                  Miranda, 384

             U.S. at 475.


                  The inquiry [into waiver] has two distinct dimensions.
                  First, the relinquishment of the right must have been
                  voluntary in the sense that it was the product of a free
                  and deliberate choice rather than intimidation, coercion,
                  or deception. Second, the waiver must have been made with
                  a full awareness of both the nature of the right being
                  abandoned and the consequences of the decision to abandon
                  it.


             Moran v. Burbine, 475 U.S. 412, 421 (1986).              The government bears

             the burden of proving waiver at least by a preponderance of the

             evidence.   Missouri   v.   Seibert,       542   U.S.   600,   609   n.1   (2004);

             Connelly, 479 U.S. at 168.


                  Waiver of Miranda does not, however, end the inquiry.                    The

             statements must also have been made voluntarily. Chavez v. Martinez,

             538 U.S. 760, 769-70 (2003). The voluntariness of a statement must

             be ultimately be assessed under the totality of the circumstances,

             considering such factors as the defendant’s intelligence, the length

             of detention, the nature of the interrogation, and the use of any

             physical force against the defendant. Schneckloth v. Bustamonte, 412

             U.S. 218, 226 (1973) (citations omitted); Miller v. Dugger, 838 F.2d

             1530, 1536 (1988) (the district court must consider the totality of

             the circumstances in assessing whether police conduct was causally

             related to the confession); United States v. Thompson, 422 F.3d

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             1285, 1295 (11th Cir. 2005) (same); United States v. Estelan, 156 F.

             App’x. 185, 193 (11th Cir. 2005) (same). The inquiry focuses on

             whether the defendant’s free will was overborne by any improper

             influence of law enforcement. Connelly, 479 U.S. at 170. See also

             United States v. Gonzalez, 71 F.3d 819, 828 (11th Cir. 1996)

             (holding that in the context of voluntariness of consent to search,

             “the absence of official coercion is a sine qua non of effective

             consent”) (citations omitted). “[A] confession induced by threats or

             promises is not voluntary.” United States. v. Vera, 701 F.2d 1349,

             1364 (11th Cir. 1983) (citing Bram v. United States, 168 U.S. 532,

             542 (1897)).


                  In this case, the evidence does not warrant a finding that

             either of the Miranda waivers was involuntary or was not knowing and

             intelligent. Neither were the statements coerced nor Defendant’s

             free will overborne. Defendant was not threatened or promised

             anything. Although Defendant was in custody on both occasions, he

             was seated comfortably in a room with at most two or three officers;

             he appeared to be alert and to understand; there were no guns drawn;

             he had not been deprived of food or water; he was not struck or even

             touched; there is no evidence that the interviews were prolonged. As

             for the Miranda waivers, they were read to Defendant in his native

             language and shown to him in written form. He indicated his assent


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             both orally and in writing.2 The officers repeated anything that they

             felt Defendant may not have understood and anything he asked to be

             repeated. Although Defendant testified that he had not gotten much,

             if any, sleep the night before, there is nothing to support a

             finding that the officers set Defendant up to be sleep deprived or

             that Defendant was so sleep deprived that he did not understand what

             the officers were asking him, either in granting the waiver or

             answering their questions. There is no evidence that the interviews

             were inordinately long or extended.


                  In short, considering the totality of the circumstances, the

             undersigned concludes that the Miranda waivers given by Defendant in

             connection   with   the   2008   and       2010   statements   were   knowing,

             intelligent and voluntary, and that Defendant’s statements made

             after these waivers were neither coerced nor otherwise involuntary.

             It is a rare case where a statement will be found to have been

             compelled despite the fact that valid Miranda warnings have been

             given and voluntarily waived. Dickerson v. United States, 530 U.S.




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                       Even though Defendant said he did not sign Gov. Ex. 2,
             both Agents present for the 2010 statement, Tyler and Ballard,
             testified that Defendant signed the form that the Court concludes
             that he did sign the waiver. Likewise, Defendant’s testimony that
             his statement “was a lie,” to the extent he meant he did not make
             such a statement, is not credible.

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             428, 444 (2000). This is not one of those rare cases. Accordingly,

             the motion to suppress should be DENIED.


                                                III.
                                             Conclusion


                  In conclusion, the undersigned finds that the 2008 and 2010

             statements made by Defendant were voluntary and that his waivers of

             his rights under Miranda were knowing, intelligent, and voluntary.

             Accordingly, IT IS RECOMMENDED that the motion to suppress, [Doc.

             378], be DENIED. It appearing that there are no further pretrial or

             discovery matters to bring before the undersigned, it is therefore

             ORDERED that this defendant be and is hereby CERTIFIED as ready for

             trial.3


                  SO REPORTED AND RECOMMENDED, this 24th day of April, 2012.

                                               S/ E. Clayton Scofield III
                                               E. CLAYTON SCOFIELD III
                                               UNITED STATES MAGISTRATE JUDGE




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                    This Court observes that this defendant has been indicted
             with additional defendants and that matters pertaining to such co-
             defendant are still pending. Pursuant to 18 U.S.C. §3161 (h)(7)
             (the Speedy Trial Act), the time for commencing the trial of these
             defendants may be stayed until such time as all defendants have
             been certified ready for trial. Hence, it is not necessary to place
             the above-named defendant’s case on the calendar for trial at this
             time.

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